Exhibit 1 - BIO

Colin McClary is a Managing Director at MorrisAnderson & Associates, Ltd. He brings valuable financing, banking,
restructuring and private equity experience, having formerly worked in the Special Assets/Workout, Debt Private
Placement and Corporate Banking Groups at Bank of America and as a Managing Director at Z Capital Partners LLC,
a $2.3BN distressed-for-control private equity fund.
Services
Colin assists clients with contract and lender negotiations, debt restructuring, capital raising, financial and operational
analyses, cash flow projections, budgets, forensic accounting assessments, business valuations and the preparation of
transaction and due diligence materials. Colin also consults with management to support strategic initiatives, corporate
development, manages financial staff, and assists in the implementation of tighter financial controls.
Industries
Colin has worked closely with business owners, CEOs, and CFOs in various industries including: Branded Food and
Consumer Products, Equipment Leasing, Trucking, Rail, Real Estate, Business and Consumer Services, Gaming,
Manufacturing, Pharmaceutical, Medical Devices, Logistics, Banking, Finance Companies, and Energy firms.
Representative Work Experience
•   Managed and restructured over $2 billion of troubled middle market C&I loans, several of which involved
    financial misconduct, embezzlement, and fraud.
•   Performed as an Expert Witness for a national commercial bank to assess and attest to the financial
    misconduct and fraud perpetrated by a large multi-state food distributor and its account factoring
    company.
•   Performed an investigation and assessment of the financial misconduct and embezzlement by the
    property manager of seven large apartment complexes and other related trust assets over 8+ years
    involving tens of millions of $s of thousands of transactions.
•   Negotiated and structured over 150+ loan/note documents and related security, inter-creditor and subordination
    agreements.
•   Restructured approximately $175 million of Tier 2 capital for commercial bank holding companies, including the
    conversion of $35MM of Senior Debt to Tier 2 qualifying Preferred Stock.
•   Structured and syndicated debt capital for companies located in Australia, New Zealand, Ireland, United
    Kingdom, Germany, Netherlands, South Korea, India and Italy.
•   Managed the restructuring of a publicly traded chain of portrait studios with 2,2000 locations located in
    throughout North America including the executed of a tax-free spin-out of a healthy 500+ employee Canadian
    subsidiary from its troubled U.S. parent.
•   Negotiated with insurance companies to obtain savings on workers-compensation costs of approximately 25%.
•   Developed 200+ capital provider relationships with commercial banks, insurance companies, private debt firms,
    business development cos. and private equity firms.


Prior to joining MorrisAnderson, Colin was a Managing Director at Z Capital Partners where he focused on
identifying, sourcing and evaluating potential acquisition targets and managing lender relationships. Duties included
preparing industry studies, valuation analysis and legal documentation review. Colin holds a BS degree in economics
from DePauw University and a master’s degree in finance from the University of Illinois of Champaign-Urbana.
